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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


PETER ALBERTS                           :
                                        :
        Plaintiff                       :                      C.A. No. _______________
                                        :
        v.                              :
                                        :
TRAVIS VAILLANT; RYDER                  :
TRUCK RENTAL, LT; RYDER                 :                      JURY TRIAL DEMANDED
TRUCK RENTAL, INC.                      :
                                        :
        Defendants                      :
                                            COMPLAINT

                                             PARTIES

        1.       Plaintiff is a citizen of the Commonwealth of Virginia and resides in Mount

Sidney, Virginia.

        2.       Defendant Vaillant is a citizen of the State of Rhode Island and resides in

Woonsocket, Rhode Island.

        3.       Defendant Ryder Truck Rental, LT is a voluntary association and trust organized

under the laws of the State of Delaware with a principal place of business in Boston,

Massachusetts.

        4.       Defendant Ryder Truck Rental, Inc. is a corporation organized and existing under

the laws of the State of Florida with a principal place of business in Miami, Florida.

                                   GENERAL ALLEGATIONS
        5.       The allegations set forth in Paragraphs 1 through 4 above are incorporated herein

as if set forth in full.

        6.       On or about October 16, 2015, Plaintiff was operating a motor vehicle on a public

way in North Providence, Rhode Island, i.e., Rt. 146.
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        7.       At all times material hereto Plaintiff was in the exercise of due care.

        8.       At the time and place aforesaid, Plaintiff was slowing down to a stop for traffic.

        9.       At the time and place aforesaid, Defendant was operating a truck which he had

rented from one or both of the Company Defendants.

        10.      Defendant operated his vehicle in a manner that caused it to strike the rear of

Plaintiff’s vehicle.

        11.      The nature of the accident as described in Paragraph 10, above, is specifically set

forth in the report prepared by a member of the Rhode Island State Police who responded to the

collision, a copy of which is annexed hereto as Exhibit A and incorporated herein by reference.

        12.      Defendant was under a duty to operate his vehicle in a manner that was

reasonable under the circumstances for the protection and safety of other users of the public way,

including Plaintiff.

                                 COUNT I—NEGLIGENCE VAILLANT

        13.      The allegations set forth in Paragraphs 1 through 12 above are incorporated herein

as if set forth again in full.

        14.      Defendant Vaillant breached the duty of care which he had to Plaintiff as more

fully described above.

        15.      As a direct and proximate result of Defendant’s breach as aforesaid, Plaintiff

suffered grave and serious personal injuries which has required him to spend great sums to cure,

relieve and attempt to rehabilitate him from the effects of same, a loss of earnings and earning

capacity, and to suffer great pain and suffering all of which are compensable under applicable

laws of the State of Rhode Island.
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WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally in an

amount which exceeds the jurisdictional requirements of this Court.

         COUNT II—VICARIOUS LIABILITY, THE COMPANY DEFENDANTS

        16.      The allegations set forth in paragraphs 1 through 15 above are incorporated herein

as if set forth again in full.

        17.      As the owner of the registered vehicle which Defendant Vaillant was operating at

the time of the collision complained of herein, one or more of the Company Defendants is liable

to Plaintiff under applicable law for the injuries he sustained in the collision at issue as a

consequence of Defendant Vaillant’s negligent operation of the rental vehicle.

        18.      As a direct and proximate result of Defendant’s breach as aforesaid, Plaintiff

suffered grave and serious personal injuries which has required him to spend great sums to cure,

relieve and attempt to rehabilitate him from the effects of same, a loss of earnings and earning

capacity, and to suffer great pain and suffering all of which are compensable under applicable

laws of the State of Rhode Island.

WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally in an

amount which exceeds the jurisdictional requirements of this Court.

                                               PLAINTIFF,
                                               By his attorney

                                               /s/David J. Oliveira
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Plaintiff hereby demands a trial by jury and designates David J. Oliveira, Esq. as trial
counsel.
